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 2   KATHLEEN BOERGERS
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 8

 9                              IN THE UNITED STATES DISTRICT COURT

10                         FOR THE NORTHERN DISTRICT OF CALIFORNIA

11                                            OAKLAND DIVISION

12

13
     STATE OF CALIFORNIA, et al.                                 Case No. 4:17-cv-5783-HSG
14
                                               Plaintiffs,
15
                    v.                                           STIPULATION OF VOLUNTARY
16                                                               DISMISSAL OF PLAINTIFF
     XAVIER BECERRA, Secretary of Health and                     COMMONWEALTH OF VIRGINIA’S
17   Human Services, et al.,                                     CLAIMS WITH PREJUDICE

18                                          Defendants,
19         and,
20   THE LITTLE SISTERS OF THE POOR, ST.
21   MARY’S HOME, et al.,

22                              Defendant-Intervenors

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            Stipulation of Voluntary Dismissal of Plaintiff Commonwealth of Virginia’s Claims With Prejudice
                                                  (4:17-cv-05783-HSG)
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 1          Plaintiffs, Plaintiff-Intervenor State of Oregon, 1 Defendants, and Defendant-Intervenors, by

 2   and through their undersigned counsel, respectfully submit this Stipulation of Voluntary Dismissal

 3   of Plaintiff Commonwealth of Virginia’s Claims with Prejudice, pursuant to Federal Rule of Civil

 4   Procedure 41(a)(1)(A)(ii).

 5          WHEREAS, Plaintiff State of California filed a Complaint, ECF No. 1, in this action on

 6   October 6, 2017, challenging two Interim Final Rules issued by the U.S. Department of Health and

 7   Human Services, in conjunction with the U.S. Department of Labor and U.S. Department of the

 8   Treasury, that expanded the scope of the religious exemption, and created a new moral exemption,

 9   to the contraceptive mandate of the Patient Protection and Affordable Care Act;

10          WHEREAS, the Commonwealth of Virginia, along with the State of Delaware, the State of

11   Maryland, and the State of New York, joined the State of California in a First Amended Complaint

12   against the Secretary of the U.S. Department of Health & Human Services, the U.S. Department of

13   Health and Human Services, the Secretary of the U.S. Department of Labor, the U.S. Department

14   of Labor, the Secretary of the U.S. Department of the Treasury, and the U.S. Department of the

15   Treasury (collectively, “Defendants”), filed on November 1, 2017, see ECF No. 24;

16          WHEREAS, the Little Sisters of the Poor, St. Mary’s Home and the March for Life

17   Education and Defense Fund (collectively, “Defendant-Intervenors”) were permitted by this Court

18   to intervene in the lawsuit. See ECF Nos. 486, 134;

19          WHEREAS, the operative complaint in this matter, ECF No. 170, was filed on December

20   18, 2018 by the State of California, the State of Connecticut, the State of Delaware, the District of

21   Columbia, the State of Hawaii, the State of Illinois, the State of Maryland, the State of Minnesota

22   by and through its Department of Human Services, the State of New York, the State of North

23   Carolina, the State of Rhode Island, the State of Vermont, the Commonwealth of Virginia, and the

24   State of Washington (collectively, “Plaintiffs”);

25          WHEREAS, Plaintiffs filed a motion for summary judgment on April 30, 2019, ECF No.

26   311;

27          1
            This Court permitted the State of Oregon to intervene in the lawsuit on February 1, 2019.
     See ECF No. 274.
28                                                 2

            Stipulation of Voluntary Dismissal of Plaintiff Commonwealth of Virginia’s Claims With Prejudice
                                                  (4:17-cv-05783-HSG)
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 1          WHEREAS, Defendants requested and this Court granted a stay in this case, see ECF Nos.

 2   462, 467, while the defendant agencies evaluated the issues presented by this litigation, as well as

 3   their regulatory and policy options;

 4          WHEREAS, the Commonwealth of Virginia wishes to voluntarily dismiss its claims and

 5   remove itself from this case;

 6          THEREFORE, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), the parties, by

 7   and through their undersigned counsel, hereby jointly stipulate and agree that the claims brought

 8   by the Commonwealth of Virginia in this lawsuit shall be, and are hereby, dismissed with prejudice,

 9   subject to the following conditions:

10          1. This stipulation does not affect the claims asserted by any other Plaintiff or Plaintiff-

11              Intervenor besides the Commonwealth of Virginia.

12          2. The parties agree that each side will bear its own fees and costs as they relate to the

13              Commonwealth of Virginia’s claims.

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            Stipulation of Voluntary Dismissal of Plaintiff Commonwealth of Virginia’s Claims With Prejudice
                                                  (4:17-cv-05783-HSG)
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 1   Dated: April 13, 2023                               Respectfully submitted,

 2                                                       ROB BONTA
                                                         Attorney General of California
 3                                                       KATHLEEN BOERGERS
 4                                                       Supervising Deputy Attorney General
                                                         KETAKEE KANE
 5                                                       Deputy Attorney General

 6                                                       /s/ _Karli Eisenberg_____________
                                                         KARLI EISENBERG
 7                                                       Supervising Deputy Attorney General
                                                         Attorneys for Plaintiff the State of California
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                                                         WILLIAM TONG
 9                                                       Attorney General of Connecticut
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10                                                       Assistant Attorney General
                                                         Attorneys for Plaintiff the State of Connecticut
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12                                                       KATHLEEN JENNINGS
                                                         Attorney General of Delaware
13                                                       CHRISTIAN DOUGLAS WRIGHT
                                                         Director of Impact Litigation
14                                                       JESSICA M. WILLEY
                                                         Deputy Attorney General
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                                                         Attorneys for Plaintiff the State of Delaware
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                                                         BRIAN SCHWALB
17                                                       Attorney General of the District of Columbia
                                                         KATHLEEN KONOPKA
18                                                       Deputy Attorney General, Public Advocacy
                                                         Division
19                                                       Attorneys for Plaintiff the District of Columbia

20                                                       LOIO KUHINA
                                                         Attorney General of Hawaii
21                                                       ERIN N. LAU
                                                         Deputy Attorney General
22
                                                         Attorneys for Plaintiff the State of Hawaii
23
                                                         KWAME RAOUL
24                                                       Attorney General of Illinois
                                                         HARPREET K. KHERA
25                                                       Deputy Bureau Chief, Special Litigation Bureau
                                                         ELIZABETH MORRIS
26                                                       Assistant Attorney General, Special Litigation
                                                         Bureau
27                                                       Attorneys for Plaintiff the State of Illinois

28                                                         4

            Stipulation of Voluntary Dismissal of Plaintiff Commonwealth of Virginia’s Claims With Prejudice
                                                  (4:17-cv-05783-HSG)
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 1
                                                      ANTHONY G. BROWN
 2                                                    Attorney General of Maryland
 3                                                    CAROLYN A. QUATTROCKI
                                                      Deputy Attorney General
 4                                                    STEVE M. SULLIVAN
                                                      Solicitor General
 5                                                    KIMBERLY S. CAMMARATA
                                                      Director, Health Education and Advocacy
 6                                                    Attorneys for Plaintiff the State of Maryland
 7
                                                      KEITH ELLISON
 8                                                    Attorney General of Minnesota
                                                      JACOB CAMPION
 9                                                    Assistant Attorney General
                                                      Attorney for Plaintiff the State of Minnesota,
10                                                    by and through its Department of Human Services

11                                                    LETITIA JAMES
                                                      Attorney General of New York
12                                                    LISA LANDAU
                                                      Bureau Chief, Health Care Bureau
13
                                                      STEVEN C. WU
14                                                    Deputy Solicitor General
                                                      Attorneys for Plaintiff the State of New York
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                                                      JOSHUA H. STEIN
16                                                    Attorney General of North Carolina
                                                      SRIPRIYA NARASIMHAN
17                                                    Deputy General Counsel
                                                      Attorneys for Plaintiff the State of North Carolina
18
                                                      PETER F. NERONHA
19                                                    Attorney General of Rhode Island
                                                      MICHAEL W. FIELD
20                                                    Assistant Attorney General
                                                      Attorneys for Plaintiff the State of Rhode Island
21
                                                      CHARITY R. CLARK
22                                                    Attorney General of Vermont
                                                      ELEANOR SPOTTSWOOD
23                                                    Assistant Attorney General
                                                      Attorneys for Plaintiff the State of Vermont
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                                                      ROBERT F. FERGUSON
25                                                    Attorney General of Washington
                                                      Attorney for Plaintiff the State of Washington
26

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         Stipulation of Voluntary Dismissal of Plaintiff Commonwealth of Virginia’s Claims With Prejudice
                                               (4:17-cv-05783-HSG)
       Case 4:17-cv-05783-HSG Document 492 Filed 04/14/23 Page 6 of 10



 1

 2   Dated: April 13, 2023                                Respectfully submitted,

 3                                                        JASON S. MIYARES
                                                          Attorney General of Virginia
 4

 5                                                        /s/ _Andrew Ferguson_____________
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 6                                                        Solicitor General
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 7                                                        Richmond, VA 23219
                                                          Telephone: (804) 786-7704
 8                                                        E-mail: aferguson@oag.state.va.us
                                                          Attorneys for the Commonwealth of Virginia
 9

10   Dated: April 13, 2023                                Respectfully submitted,
11                                                        ELLEN F. ROSENBLUM
                                                          Attorney General of Oregon
12
                                                          /s/ __J. Nicole DeFever____________
13                                                        J. NICOLE DEFEVER
                                                          CA Bar No. 191525
14                                                        Senior Assistant Attorney General
                                                          Attorneys for Plaintiff-Intervenor State of Oregon
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             Stipulation of Voluntary Dismissal of Plaintiff Commonwealth of Virginia’s Claims With Prejudice
                                                   (4:17-cv-05783-HSG)
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 1

 2   Dated: April 13, 2023                                Respectfully submitted,

 3                                                        BRIAN NETTER
                                                          Deputy Assistant Attorney General
 4                                                        STEPHANIE HINDS
 5                                                        United States Attorney
                                                          MICHELLE R. BENNETT
 6                                                        Assistant Branch Director

 7                                                        /s/ _Michael J. Gerardi_____________
                                                          MICHAEL J. GERARDI
 8                                                        DC Bar No. 1017949
                                                          CHRISTOPHER R. HEALY
 9                                                        REBECCA M. KOPPLIN
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                                                          Washington, D.C. 20001
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15                                                        Counsel for Federal Defendants

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             Stipulation of Voluntary Dismissal of Plaintiff Commonwealth of Virginia’s Claims With Prejudice
                                                   (4:17-cv-05783-HSG)
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 1   Dated: April 13, 2023                                Respectfully submitted,

 2                                                        /s/ __Mark Rienzi____________
                                                          ERIC C. RASSBACH – No. 288041
 3                                                        MARK L. RIENZI – pro hac vice
                                                          LORI H. WINDHAM – pro hac vice
 4                                                        DIANA VERM THOMSON – pro hac vice
                                                          ADÈLE AUXIER KEIM – pro hac vice
 5                                                        DANIEL L. CHEN – No. 312576
                                                          The Becket Fund for Religious Liberty
 6                                                        1919 Pennsylvania Ave. NW, Suite 400
                                                          Washington, DC 20036
 7                                                        Telephone: (202) 955-0095
                                                          Facsimile: (202) 955-0090
 8                                                        E-mail: erassbach@becketlaw.org
                                                          Counsel for Defendant-Intervenor The Little Sisters
 9                                                        of the Poor

10

11   Dated: April 13, 2023                                Respectfully submitted,

12                                                        /s/ _Kenneth Connelly_____________
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13                                                        Alliance Defending Freedom
                                                          15100 N. 90th Street
14
                                                          Scottsdale, AZ 85260
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                                                          Facsimile: (480) 444-0028
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                                                          Counsel for Defendant-Intervenor March for Life
17                                                        Education and Defense Fund

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             Stipulation of Voluntary Dismissal of Plaintiff Commonwealth of Virginia’s Claims With Prejudice
                                                   (4:17-cv-05783-HSG)
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 1                                   ATTESTATION OF SIGNATURES

 2          I, Karli Eisenberg, hereby attest, pursuant to Local Civil Rule 5-1(h)(3) of the Northern
 3   District of California that concurrence in the filing of this document has been obtained from each
 4
     signatory hereto.
 5
                                                                /s/ Karli Eisenberg_______________
 6
                                                                Karli Eisenberg
 7                                                              Supervising Deputy Attorney General
                                                                Attorney for Plaintiff
 8                                                              State of California

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            Stipulation of Voluntary Dismissal of Plaintiff Commonwealth of Virginia’s Claims With Prejudice
                                                  (4:17-cv-05783-HSG)
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                              CERTIFICATE OF SERVICE
Case Name:      State of California v. Health             No.    4:17-cv-05783-HSG
                and Human Services, et al.

I hereby certify that on April 13, 2023, I electronically filed the following documents with the
Clerk of the Court by using the CM/ECF system:
 STIPULATION OF VOLUNTARY DISMISSAL OF PLAINTIFF COMMONWEALTH
               OF VIRGINIA’S CLAIMS WITH PREJUDICE
I certify that all participants in the case are registered CM/ECF users and that service will be
accomplished by the CM/ECF system.
I declare under penalty of perjury under the laws of the State of California and the United States
of America the foregoing is true and correct and that this declaration was executed on April 14,
2023, at Sacramento, California.


                T. Oakes                                            /s/ T. Oakes
                Declarant                                            Signature

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